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13
                                    UNITED STATES DISTRICT COURT
14
                                   NORTHERN DISTRICT OF CALIFORNIA
15
                                           SAN JOSE DIVISION
16
     MATT JONES; BRYSON DECHAMBEAU;                    Case No. 5:22-cv-04486-BLF
17   PETER UIHLEIN; and LIV GOLF, INC.,
                                                       DECLARATION OF NEERA SHETTY IN
18                   Plaintiffs,                       SUPPORT OF PGA TOUR, INC.’S
                                                       STATEMENT IN SUPPORT OF
19             v.                                      SEALING RE: DKT. 332

20   PGA TOUR, INC.,                                   Judge:     Hon. Beth Labson Freeman

21                   Defendant.                        Date Filed: August 3, 2022

22                                                     Trial Date: January 8, 2024
     PGA TOUR, INC.,
23                   Counter-Claimant,
24             v.
25   LIV GOLF, INC.; THE PUBLIC
     INVESTMENT FUND OF THE KINGDOM
26   OF SAUDI ARABIA; and YASIR OTHMAN
     AL-RUMAYYAN;
27
                     Counter-Defendants.
28

                                    DECLARATION OF NEERA SHETTY
               IN SUPPORT OF PGA TOUR, INC.’S STATEMENT IN SUPPORT OF SEALING RE: DKT. 332
                                         Case No. 5:22-cv-04486-BLF
     2107873
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 1             I, Neera Shetty, declare as follows:

 2             1.     I am duly licensed to practice law in the State of Florida and am Deputy General

 3   Counsel of PGA TOUR, INC. (“the TOUR”), Defendant and Counter-Claimant in the above-

 4   captioned matter. I submit this declaration in support of the TOUR’s statement in support of

 5   sealing (“Sealing Statement”), filed in connection with Plaintiffs’ and Counter-Defendants’

 6   Administrative Motion to Consider Whether Another Party’s Material Should be Sealed (Dkt.

 7   332) (the “Administrative Motion”). I have knowledge of the facts set forth in this declaration

 8   and, if called to testify as a witness thereto, could do so competently under oath.

 9             2.     The Administrative Motion seeks to seal the TOUR’s highly confidential and

10   competitively sensitive materials quoted within or attached to Plaintiffs’ and Counter-Defendants’

11   Motion to Bifurcate (Dkt. 331) (the “Bifurcation Motion”). The disclosure of this information

12   would cause harm to the TOUR’s business interests, competitive standing, and relationships with

13   partners.

14             3.     The portions of the Bifurcation Motion sought to be sealed at 4:22-27 are direct

15   quotations from an internal communications strategy document related to the TOUR’s business

16   with other partners in the golf ecosystem. The strategy document is also attached to the

17   Bifurcation Motion as Exhibit G. Revealing this internal strategy material would cause

18   significant harm to the TOUR’s business and relationships with other golf tours.

19             4.     The portions of the Bifurcation Motion sought to be sealed at 5:11-13 and 5:21 are

20   direct quotations from competitively sensitive communications between TOUR employees and a

21   non-party consultant retained by the TOUR to provide strategic advice on competitive issues.

22   The communications themselves are attached to the Bifurcation Motion as Exhibit N, Exhibits

23   O, Oa, and Oc, and Exhibits R and Ra. The non-party consultant had an expectation of privacy

24   and confidentiality in its communications with TOUR employees. Disclosure of these

25   communications would cause harm to the TOUR’s relationships with business partners, reveal

26   internal strategy and decision making processes, and intrude on the non-party consultant’s

27   expectation of confidentiality and privacy.

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 1             5.    Exhibit J, attached to the Bifurcation Motion, is an internal TOUR

 2   communication between senior TOUR employees and the TOUR’s Commissioner regarding

 3   sensitive internal strategy related to other professional golf governing bodies. The disclosure of

 4   these sensitive internal communications would cause competitive harm to the TOUR and damage

 5   to the TOUR’s relationships with other professional golf governing bodies.

 6             6.    Exhibit K, attached to the Bifurcation Motion, reflects communications between

 7   TOUR employees regarding sensitive competitive strategy and analysis. The disclosure of these

 8   communications would cause competitive injury to the TOUR, as it discusses the TOUR’s

 9   internal strategy and analysis with respect to specific competitive issues and players.

10             7.    Exhibits Ob, attached to the Bifurcation Motion, is a confidential internal TOUR

11   communication summarizing discussions between TOUR employees and a non-party consultant

12   retained by the TOUR to provide strategic advice on competitive issues. The non-party

13   consultant had an expectation of privacy and confidentiality in its communications with TOUR

14   employees. Disclosure of these communications would cause harm to the TOUR’s relationships

15   with business partners, reveal internal strategy and decision making processes, and intrude on the

16   non-party consultant’s expectation of confidentiality and privacy.

17             8.    Exhibit P, attached to the Bifurcation Motion, reflects sensitive communications

18   between TOUR employees and a non-party consultant retained by the TOUR to provide strategic

19   advice on competitive issues. The non-party consultant had an expectation of privacy and

20   confidentiality in its communications with TOUR employees. Disclosure of these

21   communications would cause harm to the TOUR’s relationships with business partners, reveal

22   internal strategy and decision making processes, and intrude on the non-party consultant’s

23   expectation of confidentiality and privacy. Exhibits Pa, Pb, Pc, and Pd, attached to the

24   Bifurcation Motion, are invoices prepared by the non-party consultant. Disclosing these materials

25   would damage the TOUR’s relationship with the non-party consultant, intrude on the non-party

26   consultant’s expectation of confidentiality and privacy, and disclose competitively sensitive

27   pricing information related to the non-party consultant’s services.

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 1             9.    Exhibits Q, Qa, Qb, and Qc, attached to the Bifurcation Motion, reflect sensitive

 2   communications between TOUR employees and a non-party consultant retained by the TOUR to

 3   provide strategic advice on competitive issues. The non-party consultant had an expectation of

 4   privacy and confidentiality in its communications with TOUR employees. Disclosure of these

 5   communications would cause harm to the TOUR’s relationships with business partners, reveal

 6   internal strategy and decision making processes, and intrude on the non-party consultant’s

 7   expectation of confidentiality and privacy.

 8             10.   Exhibits S, Sa, and Sb, attached to the Bifurcation Motion, reflect sensitive

 9   communications between TOUR employees and a non-party consultant retained by the TOUR to

10   provide strategic advice on competitive issues. The non-party consultant had an expectation of

11   privacy and confidentiality in its communications with TOUR employees. Disclosure of these

12   communications would cause harm to the TOUR’s relationships with business partners, reveal

13   internal strategy and decision making processes, and intrude on the non-party consultant’s

14   expectation of confidentiality and privacy.

15             11.   Exhibit T, attached to the Bifurcation Motion, reflects internal TOUR

16   communications discussing and summarizing confidential conversations between senior TOUR

17   executives and a non-party consultant retained by the TOUR to provide strategic and competitive

18   advice. The non-party consultant had an expectation of privacy and confidentiality in its

19   communications with TOUR employees. Disclosure of these communications would cause harm

20   to the TOUR’s relationships with business partners, reveal internal strategy and decision making

21   processes, and intrude on the non-party consultant’s expectation of confidentiality and privacy.

22             12.   Exhibit U, attached to the Bifurcation Motion, is a confidential and competitively

23   sensitive analysis prepared by a non-party consultant retained by the TOUR to provide strategic

24   and competitive advice. The non-party consultant had an expectation of privacy and

25   confidentiality in its communications with TOUR employees and in preparing the analysis.

26   Disclosure of this analysis would cause harm to the TOUR’s relationships with business partners,

27   reveal internal strategy and decision making processes, and intrude on the non-party consultant’s

28   expectation of confidentiality and privacy.
                                                      3
                                    DECLARATION OF NEERA SHETTY
               IN SUPPORT OF PGA TOUR, INC.’S STATEMENT IN SUPPORT OF SEALING RE: DKT. 332
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 1             I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct and that this declaration was executed on March 23, 2023 in Ponte

 3   Vedra, Florida.

 4                                                  /s/ Neera Shetty
                                                    NEERA SHETTY
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                                    DECLARATION OF NEERA SHETTY
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 1                                 CERTIFICATE OF CONCURRENCE

 2             In accordance with Local Rule 5-1(i)(3), PGA Tour, Inc.’s undersigned counsel, Nicholas

 3   S. Goldberg, hereby attests that Neera Shetty has assented to the affixation of their signature to

 4   this Declaration and concurs in the filing of this document.

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 6   Dated: March 23, 2023

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                                                           By: /s/ Nicholas S. Goldberg
 8                                                           NICHOLAS S. GOLDBERG
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                                    DECLARATION OF NEERA SHETTY
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